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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:22-cv-01129-NYW-SKC

   ERIC COOMER, Ph.D.,
         Plaintiff

   v.

   MICHAEL J. LINDELL, FRANKSPEECH LLC,
   AND MY PILLOW, INC.,
        Defendants


                    PLAINTIFF’S OBJECION TO DEFENDANTS
                  DESIGNATION OF NONPARTIES AT FAULT AND
                       MOTION TO STRIKE DESIGNATION


   TO THE HONORABLE JUDGE OF SAID COURT:

         Plaintiff Eric Coomer, Ph.D. (Dr. Coomer) files this Objection to Defendants’

   Designation of Nonparties at Fault and Motion to Strike Designation, and shows as

   follows:

                                  I.       INTRODUCTION

         1.     As their counsel’s final act before moving to withdraw from this case,

   Defendants filed their Designation of Nonparties at Fault [Dkt. 199] (the Designation) on

   October 5, 2023. The Designation is untimely by the express language of the statute upon

   which Defendants rely. Further, even if the Designation were not time-barred, it fails as

   a matter of law and should be denied.




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                                      II.    ARGUMENT

   A.     The Designation is time-barred.

          2.     Defendants cite C.R.S. § 13-21-111.5(3)(b) as authority to file the

   Designation, but that statute expressly holds that “Negligence or fault of a nonparty may

   be considered if . . . the defending party gives notice that a nonparty was wholly or

   partially at fault within ninety days following commencement of the action unless the

   court determines that a longer period is necessary.” (Emphasis added).

          3.     Assuming the referenced statute applies, the Designation is 428 days late.

   Specifically, Plaintiff filed this lawsuit in the Denver County District Court on April 4,

   2022, and it was removed to this Court on May 5, 2022. As a result, Defendants’ deadline

   to file the Designation was August 3, 2022, or 428 days prior to the October 5, 2023 filing.

   B.     There is no basis for the Court to determine that a longer
          designation period is necessary.

          4.     Defendants make no argument to suggest that a longer designation period

   was warranted, nor could they. With one exception, discussed below, the Designation

   simply lists defendants in other lawsuits filed by Plaintiff. But Plaintiff filed a timely

   Notice of Related Cases on June 17, 2022 [Dkt. 22], well within the designation window

   identified above. Following the filing of Plaintiff’s fifth and final lawsuit against Patrick

   Byrne, Steve Lucescu, and The America Project, Inc., Plaintiff again filed a timely First

   Supplemental Notice of Related Cases on August 19, 2022 [Dkt. 46].

          5.     The only individual listed in the Designation that Plaintiff has not filed suit

   against is David Clements. See Designation, at ¶ 20. But there can be no excuse for the

   delay in designating Clements either, because statements made by Clements at “Mike




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   Lindell’s Cyber Symposium” were expressly described for several paragraphs in the

   Complaint. See Plaintiff’s Complaint [Dkt. 1], at ¶¶ 78, 80-84.

          6.     Even if Defendants did argue for an extended deadline, which they have not,

   such a request should be denied as designation at this late stage would materially

   prejudice Plaintiff. The discovery deadline was August 18, 2023, more than two months

   ago.   [Dkt. 166]. Defendants have already filed a Motion for Summary Judgment

   [Dkt. 177] and their counsel has now moved to withdraw from this case altogether

   [Dkt. 200]. To allow the designation of dozens of nonparties at fault at this extremely late

   juncture, with ongoing representation by Defendants’ counsel still in question, would

   serve to significantly complicate and potentially delay this case even further.

   C.     The designations themselves are insufficient as a matter of law.

          7.     Even if the Designation were not time-barred, and even if Defendants had

   argued some basis for extending that timeline, the Designation would still be inadequate

   as a matter of law. A simple statement supporting only causation does not satisfy the

   statutory requirement of an allegation of “fault or negligence.” Redden v. SCI Colorado

   Funeral Services, Inc., 38 P.3d 75, 80 (Colo. 2001). “Courts should construe designation

   requirements strictly to avoid a defendant attributing liability to a non-party from whom

   the plaintiff cannot recover.” Id. (citing Thompson v. Colo. & E.R.R. Co., 852 P.2d 1328,

   1329 (Colo. App. 1993). “When a court does not believe a defendant has established legal

   culpability against an alleged non-party, the designation is properly disallowed.” Id.

          8.     Here, with a single exception of David Clements, Defendants have not made

   any argument that the dozens of nonparties they have designated at fault played any role




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   in the defamatory publications at issue in this dispute. Nor could they. The publications

   identified in Plaintiff’s Complaint were made by Defendants. Among other elements, a

   defamation claim requires that the defamatory statements at issue were published to a

   third party, with fault amounting to at least negligence on the part of the publisher.

   Lawson v. Stow, 327 P.3d 240 (Colo. App. 2014).             Defendants cannot designate

   nonparties at fault for publishing specific statements when they indisputably have no

   potential relation to those publications. With respect to Clements, the single sentence

   imputing only causation is insufficient, as discussed above.

          9.     In any case, designation of nonparties at fault is not the proper means of

   addressing the concern that Defendants attempt to raise. A defendant may always

   attempt to interpose a complete defense that his acts or omissions were not the cause of

   the plaintiff’s injuries. Redden, 28 P.3d at 81 (citing Graven v. Vail Assocs. Inc., 909 P.2d

   514, 520 (Colo. 1995). But a defense that the defendant did not cause the plaintiff’s

   injuries is not equivalent to the designation of a nonparty because it cannot result in

   apportionment of liability. Id. The Designation should be rejected for this reason as well.

                                        CONCLUSION

          For the reasons stated herein, Plaintiff Eric Coomer, Ph.D. requests that

   Defendants’ Designation of Nonparties at Fault be denied and moves the Court to strike

   the Designation. Plaintiff Eric Coomer, Ph.D. further requests such other and further

   relief to which he may be entitled to receive.




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         Respectfully submitted this 26th day of October 2023.


                                                 /s/ Charles J. Cain
                                          Charles J. Cain, No. 51020
                                          ccain@cstrial.com
                                          Bradley A. Kloewer, No. 50565
                                          bkloewer@cstrial.com
                                          Steve Skarnulis
                                          skarnulis@cstrial.com
                                          Zachary H. Bowman
                                          zbowman@cstrial.com
                                          David E. Jennings, No. 54643
                                          djennings@cstrial.com
                                          Cain & Skarnulis PLLC
                                          P. O. Box 1064/101 N. F Street, Suite 207
                                          Salida, Colorado 81201
                                          303 Colorado Street, Suite 2850
                                          Austin, Texas 78701
                                          719-530-3011/512-477-5011 (Fax)

                                          Thomas J. Rogers III, No. 28809
                                          trey@rklawpc.com
                                          Mark Grueskin, No. 14621
                                          mark@rklawpc.com
                                          RechtKornfeld PC
                                          1600 Stout Street, Suite 1400
                                          Denver, Colorado 80202
                                          303-573-1900
                                          ATTORNEYS FOR PLAINTIFF




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